If an error has intervened in any matter of pleading or procedure in any civil case, the judgment following will not, on this account, be reversed, unless the court be of the opinion, as a matter of fact, that this error has probably injuriously affected substantial rights of the parties complaining. Supreme Court rule 45 (175 Ala. xxi, 61 So. ix). Under the mandate of this rule the fate of any judgment in a civil case that is tainted with error in the pleadings or procedure leading thereto is dependent upon what is disclosed by the entire record in that particular case. That is to say, each case stands upon its facts, and, of necessity, no iron-clad principle can be announced of the construction to be placed on this rule. However, we may say that under it our court has declared generally that if a complaint (not so fatally defective that a judgment based thereon would be arrested on motion) or a plea in a civil cause be defective for the reason that a necessary allegation is omitted, and a demurrer pointing out this defect has been improperly overruled, the judgment following will not be reversed on this account if the entire record discloses that the trial court by an appropriate charge instructed the jury specifically as to the necessity of proving the omitted allegation, and the record further shows that this omitted allegation was proved and considered. Best Park  Am. Co. v. Rollins, 192 Ala. 534,68 So. 417, Ann. Cas. 1917D, 929; Vance v. Morgan, 198 Ala. 149,73 So. 406; Clinton Min. Co. v. Bradford, 200 Ala. 308,76 So. 74, 78; Southern Ry. Co. v. Harris, 202 Ala. 263,80 So. 101, 104; Birmingham So. Ry. Co. v. Goodwyn, 202 Ala. 599,81 So. 339, 341; Ex parte Minor, 203 Ala. 481,83 So. 475.
Under the instant evidence the trial judge made plain in his oral charge that there could be no recovery on the willful and wanton count, unless the jury found that defendant willfully, wantonly, or intentionally inflicted the injuries averred upon plaintiff. Instructing the jury under this count, the court said:
"Now, the wrong alleged in this complaint is of two kinds; one that the injury was caused by the negligent conduct of the defendant, and the other that it was caused by the willful, wanton, or intentional act of the defendant. * * * If the defendant was guilty of a wrong of that grave degree, and inflicted these injuries wantonly, intentionally, or willfully, then the fault of the plaintiff, if he was in fault in being on the wrong side of the street, would not bar his recovery. It is only as against the negligence of the defendant that contributory negligence would be a bar. Now, you know what it is to intentionally inflict an injury, and if an injury be intentionally inflicted, contributory negligence could not be interposed as a defense, but short of an intentional infliction of an injury — that is, an injury inflicted wantonly or willfully — and that might occur where a thing is done through recklessness, and with a consciousness that the doing of the thing will produce or inflict injury upon another, and the persistence in the doing of the thing with reckless indifference as to consequences, now, that might happen where one drives an automobile at an unduly rapid rate of speed in a place and at a time and under circumstances where he must have known that injury would probably result to somebody from such speed, and the persistence in that conduct until the injury had been inflicted. That is what may be denominated as wantonness or willfulness but this defendant cannot be held guilty of a wrong in that degree, nor cut off from the alleged defense of contributory negligence on the part of the plaintiff, unless he was actuated by intentional, or wantonness, or willfulness, within the meaning of those terms, such as I have already defined to you. If you do not find that the defendant inflicted the injury willfully, wantonly, or intentionally, that will bring you back to the question of whether he was negligent, and in that way inflicted the injury, and to the further inquiry as to whether or not the plaintiff was himself guilty of negligence, contributing proximately to his injury."
However, it cannot be said that the error committed in overruling the demurrer to count 2 was brought within the rule of Best Park  Am. Co. v. Rollins, supra, by the giving of the foregoing charge by the court, when it is noted that plaintiff requested in writing, and was given, charge denominated C as follows: *Page 546 
"Wantonness does not necessarily involve any ill will toward plaintiff or any actual desire to injure him or any one else, and if the jury are reasonably satisfied from the evidence that defendant wantonly caused the injury as complained of in the second count of the complaint as amended, then the jury must find for plaintiff whatever negligence plaintiff may have been guilty of, and whether or not defendant discovered plaintiff in any peril. H. A. Sharpe, Judge."
The question propounded to witness Morris:
"* * * In your judgment, if a car of that kind (Buick 6) was going west on 5th avenue and turned around going into Eighteenth street to go north on Eighteenth street, on a dry day there on that pavement, and it skidded and dragged, that is, skidded forward with the wheels locked for 22 feet 1 inch, how fast in your judgment must the machine have been going when it started to skid?"
— was not subject to the objection made "on the ground it had not been shown that the witness was an expert on that question."
The application for rehearing is denied.
ANDERSON, C. J., and McCLELLAN and SOMERVILLE, JJ., concur.